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                                    EXHIBIT B
                    Summary of Timekeepers Included in this Fee Application




DOCS_DE:241756.1 28311/001                    1
                                                      Case 22-10584-CTG      Doc 725-2    Filed 12/21/22    Page 2 of 2
                                                                                                                                                  NUMBER OF
                                                                                        HOURS                             HOURLY RATE BILLED
                                                           DEPARTMENT     DATE OF                     FEES BILLED                                    RATE
                                                                                        BILLED
          NAME                      TITLE OR POSITION       GROUP OR       FIRST                         IN THIS                      IN FIRST    INCREASES
                                                                                        IN THIS                        IN THIS
                                                             SECTION     ADMISSION1                  APPLICATION                      INTERIM      SINCE CASE
                                                                                      APPLICATION                    APPLICATION
                                                                                                                                    APPLICATION    INCEPTION
 Laura Davis Jones                 Partner                  Bankruptcy      1986            335.20     $527,940.00      $1,575.00                      0
 Richard J. Gruber                 Of Counsel               Bankruptcy      1982              2.40    $ 3,420.00        $1,425.00                      0
 David M. Bertenthal               Partner                  Bankruptcy      1993              2.60    $ 3,627.00        $1,395.00                      0
 Maxim B. Litvak                   Partner                  Bankruptcy      1997             61.50    $ 78,412.50       $1,275.00                      0
 Karen B. Dine                     Of Counsel               Bankruptcy      1994              6.80    $ 8,806.00        $1,295.00                      0
 Jeffrey M. Dine                   Of Counsel               Bankruptcy      1996              1.70    $ 2,201.50        $1,295.00                      0
 Mary F. Caloway                   Of Counsel               Bankruptcy      1992            431.70     $515,881.50      $1,195.00                      0
 James E. O’Neill                  Partner                  Bankruptcy      1985              0.70    $     801.50      $1,145.00                      0
 Jonathan J. Kim                   Of Counsel               Bankruptcy      1995             43.00     $ 47,085.00      $1,095.00                      0
 Timothy P. Cairns                 Partner                  Bankruptcy      2002            330.70     $329,046.50      $ 995.00                       0
 Peter J. Keane                    Of Counsel               Bankruptcy      2008             69.50     $ 64,287.50      $ 925.00                       0
 Edward A. Corma                   Associate                Bankruptcy      2018             16.50     $ 11,137.50      $ 675.00                       0
 Leslie A. Forrester               Law Library Director     Bankruptcy      N/A               2.80     $ 1,386.00       $ 495.00                       0
 Patricia J. Jeffries              Paralegal                Bankruptcy      N/A               7.00     $ 3,465.00       $ 495.00                       0
 Karina K. Yee                     Paralegal                Bankruptcy      N/A               0.40    $     198.00      $ 495.00                       0
 Patricia E. Cuniff                Paralegal                Bankruptcy      N/A               1.90    $     940.50      $ 495.00                       0
 Ian Densmore                      Paralegal                Bankruptcy      N/A              97.40     $ 48,213.00      $ 495.00                       0
 Cheryl A. Knotts                  Paralegal                Bankruptcy      N/A               4.00     $ 1,840.00       $ 460.00                       0
 Andrea R. Paul                    Case Mgmt. Assist        Bankruptcy      N/A               7.30     $ 2,883.50       $ 395.00                       0
 Charles J. Bouzoukis              Case Mgmt. Assist        Bankruptcy      N/A              48.00     $ 18,960.00      $ 395.00                       0
 Karen S. Neil                     Case Mgmt. Assist        Bankruptcy      N/A              30.70     $ 12,126.50      $ 395.00                       0
 Total:                                                                                   1,501.80   $1,682,659.00



Case Name:                      First Guaranty Mortgage Corporation
Case Number:                    22-10584 (CTG)
Applicant's Name:               Pachulski Stang Ziehl & Jones LLP
Date of Application:            12/21/2022
Interim or Final                Final



           1
               If applicable.
